     Case 5:17-cv-02247-JGB-KK Document 1 Filed 11/02/17 Page 1 of 5 Page ID #:1




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                          UNITED STATES DISTRICT COURT

11                      CENTRAL DISTRICT OF CALIFORNIA
12
13   GREGG CRAWFORD,                            Case No.: 5:17-cv-2247

14                Plaintiff,
                                                COMPLAINT AND DEMAND FOR
15         vs.                                  JURY TRIAL
16
17   COMENITY , LLC dba COMENITY
     CAPITAL BANK,
18
                  Defendant(s).
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20
                                    INTRODUCTION
21
           1.     GREGG CRAWFORD (Plaintiff), through his attorneys, brings this
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     action to secure redress from COMENITY , LLC dba COMENITY CAPITAL
23
     BANK (Defendant) for violations of the Equal Credit Opportunity Act, 15 U.S.C.
24
     1691 et seq. (“ECOA”).
25
           2.     Plaintiff brings this Complaint for damages, injunctive relief, and any
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     other available legal or equitable remedies, resulting from the illegal actions of
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     Defendant in taking an “adverse action” as defined by the ECOA against Plaintiff
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     and his credit account and failing to provide Plaintiff with the requisite written
                                               -1-

                                                                  COMPLAINT FOR DAMAGES
     Case 5:17-cv-02247-JGB-KK Document 1 Filed 11/02/17 Page 2 of 5 Page ID #:2




 1   notice advising of said “adverse action” and a written explanation to why such
 2   action took place. Plaintiff alleges as follows upon personal knowledge as to
 3   himself and his own acts and experiences, and, as to all other matters, upon
 4   information and belief, including investigation conducted by his attorneys.
 5                             JURISDICTION AND VENUE
 6          3.     This Court has jurisdiction under 28 U.S.C. 1331, because this action
 7   is brought pursuant to the ECOA, 15 U.S.C. 1691 et seq.
 8          4.     Jurisdiction of this Court arises pursuant to 15 U.S.C. 1691(e)(f),
 9   which states that, “Any action under this section may be brought in the appropriate
10   United States district court without regard to the amount in controversy, or in any
11   other court of competent jurisdiction.”
12          5.     Venue and personal jurisdiction in this District are proper pursuant to
13   28 U.S.C. 1391(b) because Defendant, a corporation, maintains a business offices
14   throughout California and does or transacts business within this District and
15   Plaintiff resides within this district.
16          6.     Plaintiff is a natural person residing in Riverside County, State of
17   California.
18          7.     Defendant is a corporation with its State of Incorporation being Ohio.
19                               FACTUAL ALLEGATIONS
20          8.     On or about February, 2016, Plaintiff applied for and was approved
21   for an extension of credit for a PayPal Credit account, which is funded and serviced
22   by Defendant. The amount of credit extended to Plaintiff upon review and approval
23   of his application was $6,000.00.
24          9.     Plaintiff then utilized this extension of credit from Defendant to
25   purchase “points” for his and his wife’s timeshare agreement with Worldmark.
26          10.    From February 2016 through June 2017, Plaintiff made all necessary
27   payments on his credit account with Defendant.
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                                                -2-

                                                                   COMPLAINT FOR DAMAGES
     Case 5:17-cv-02247-JGB-KK Document 1 Filed 11/02/17 Page 3 of 5 Page ID #:3




 1         11.    However, in May of 2017, while disputing a particular charge via
 2   telephone with Defendant, it was discovered that Plaintiff inadvertently miswrote
 3   the last 4 digits of his Social Security Number on his application (notwithstanding
 4   the fact that Plaintiff otherwise qualified for and was approved for the $6,000.00
 5   credit extension despite this error).
 6         12.    Both Plaintiff and his wife made significant efforts with Defendant to
 7   simply cure the inadvertent typographical error by providing Plaintiff’s full and
 8   accurate Social Security Number.
 9         13.    However, Defendant refused to accept the correct Social Security
10   Number and threatened Plaintiff with immediate closure of his credit account
11   without further delay or explanation.
12         14.    In June 2017, Plaintiff and his wife reviewed their online accounts and
13   discovered that Defendant did indeed close Plaintiff’s account. What is more,
14   Defendant inexplicably made the unilateral decision to transfer Plaintiff’s balance
15   directly over to his wife’s credit account without permission, without legal
16   justification, and without any further notice.
17         15.    To date, Defendant has never provided Plaintiff with written notice of
18   his account closure, the transfer of balance to his wife’s account, and/or any written
19   explanation as to why Defendant took such action.
20         16.    The closure of an existing credit account, or similar revocation of an
21   existing extension of credit constitutes an “adverse action” as defined by 15 U.S.C.
22   § 1691(d)(6).
23         17.    As such, pursuant to 15 U.S.C. § 1691(d)(2), “Each applicant against
24   whom adverse action is taken shall be entitled to a statement of reasons for such
25   action from the creditor. A creditor satisfies this obligation by—
26   (A) providing statements of reasons in writing as a matter of course to applicants
27   against whom adverse action is taken; or
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                                                -3-

                                                                   COMPLAINT FOR DAMAGES
     Case 5:17-cv-02247-JGB-KK Document 1 Filed 11/02/17 Page 4 of 5 Page ID #:4




 1   (B) giving written notification of adverse action which discloses (i) the applicant’s
 2   right to a statement of reasons within thirty days after receipt by the creditor of a
 3   request made within sixty days after such notification, and (ii) the identity of the
 4   person or office from which such statement may be obtained. Such statement may
 5   be given orally if the written notification advises the applicant of his right to have
 6   the statement of reasons confirmed in writing on written request.”
 7         17.    Thus, Defendant’s conduct is in direct violation of the ECOA.
 8         18.    As a result of Defendant’s conduct, Plaintiff has suffered damages in
 9   the form of lost credit opportunities, loss of available credit, further expenditure of
10   household finances due to the increase in payments requested by Defendant
11   directed at his wife, needles expenditure of time in attempting to rectifying this
12   issue to no fault of his own, and various other tangibles and intangibles to be
13   determined by the fact finder at Trial.
14                                        COUNT I:
15   DEFENDANT VIOLATED THE EQUAL CREDIT OPPORTUNITY ACT
16         19.    As described above, Defendant’s conduct constitutes violations of the
17   ECOA, 15 U.S.C. § 1691, et seq.
18         20.    The closure of an existing credit account, or similar revocation of an
19   existing extension of credit constitutes an “adverse action” as defined by 15 U.S.C.
20   § 1691(d)(6).
21         21.    As such, pursuant to 15 U.S.C. § 1691(d)(2), “Each applicant against
22   whom adverse action is taken shall be entitled to a statement of reasons for such
23   action from the creditor. A creditor satisfies this obligation by—
24   (A) providing statements of reasons in writing as a matter of course to applicants
25   against whom adverse action is taken; or
26   (B) giving written notification of adverse action which discloses (i) the applicant’s
27   right to a statement of reasons within thirty days after receipt by the creditor of a
28   request made within sixty days after such notification, and (ii) the identity of the

                                                -4-

                                                                    COMPLAINT FOR DAMAGES
     Case 5:17-cv-02247-JGB-KK Document 1 Filed 11/02/17 Page 5 of 5 Page ID #:5




 1   person or office from which such statement may be obtained. Such statement may
 2   be given orally if the written notification advises the applicant of his right to have
 3   the statement of reasons confirmed in writing on written request.”
 4                                PRAYER FOR RELIEF
 5         WHEREFORE, Plaintiff, GREGG CRAWFORD respectfully requests
 6   judgment be entered against Defendant, COMENITY CAPITAL BANK, for the
 7   following:
 8         22.    Actual damages per Statute;
 9         23.    Punitive Damages per Statute;
10         24.    Costs and reasonable attorneys’ fees per Statute;
11         25.    For prejudgment interest at the legal rate; and
12         26.    Any other relief this Honorable Court deems appropriate.
13
14
                                      TRIAL BY JURY
15
           Pursuant to the seventh amendment to the Constitution of the United States
16
     of America, Plaintiff is entitled to, and demands, a trial by jury
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19
                                             RESPECTFULLY SUBMITTED,
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     Dated: November 2, 2017                 MARTIN & BONTRAGER, APC
21
22
                                             By: /s/ Nicholas J. Bontrager
23
                                                      Nicholas J. Bontrager
24                                                    Attorney for Plaintiff
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                                                                     COMPLAINT FOR DAMAGES
